                             UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF NORTH CAROLINA



 BRENNA OLBRICH, individually and on
 behalf of all others similarly situated,         Case No.

         Plaintiff,                               CLASS ACTION COMPLAINT

 v.                                               JURY DEMAND

 AHOLD DELHAIZE USA SERVICES, LLC,


         Defendant.



        Plaintiff Brenna Olbrich (“Plaintiff”) brings this class action against Defendant Ahold

Delhaize USA Services, LLC (“Defendant”) for its failure to properly secure and safeguard

Plaintiff’s and Class Members’ protected health information (“PHI”), personally identifiable

information (“PII”), and financial information stored within Defendant’s information network.

                                       INTRODUCTION
        1.       Defendant is a service provider for grocery stores in the United States and is

  owned by an international retailing group based in the Netherlands.

         2.      Defendant acquired, collected, and stored Plaintiff’s and Class Members’ PII and

 financial information.

         3.      At all relevant times, Defendant knew or should have known, that Plaintiff and

 Class Members would use Defendant’s services to store and/or share sensitive data, including

 highly confidential PII and financial information.

         4.      Between November 5, 2024 and November 6, 2024, upon information and belief,




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unauthorized third-party cybercriminals gained access to Plaintiff’s and Class Members’ PII

and financial information as hosted with Defendant, with the intent of engaging in the misuse

of the PII and financial information, including marketing and selling Plaintiff’s and Class

Members’ PII and financial information.

       5.      The total number of individuals who have had their data exposed due to

Defendant’s failure to implement appropriate security safeguards is approximately 2,242,521.

       6.      Personally identifiable information (“PII”) generally incorporates information

that can be used to distinguish or trace an individual’s identity, and is generally defined to

include certain identifiers that do not on their face name an individual, but that is considered to

be particularly sensitive and/or valuable if in the wrong hands (for example, Social Security

numbers, passport numbers, driver’s license numbers, financial account numbers).

       7.      The vulnerable and potentially exposed data at issue of Plaintiff and the Class

stored on Defendant’s information network, includes, without limitation: name, address, email

address, phone number, date of birth, Social Security number, passport information, driver's

license number, financial account information, health data, and employment-related

information.

       8.      Defendant disregarded the rights of Plaintiff and Class Members by intentionally,

willfully, recklessly, or negligently failing to take and implement adequate and reasonable

measures to ensure that Plaintiff’s and Class Members’ PII and financial information was

safeguarded, failing to take available steps to prevent unauthorized disclosure of data, and

failing to follow applicable, required and appropriate protocols, policies and procedures

regarding the encryption of data, even for internal use.

       9.      As a result, the PII and financial information of Plaintiff and Class Members was


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compromised through disclosure to an unknown and unauthorized third party—an undoubtedly

nefarious third party that seeks to profit off this disclosure by defrauding Plaintiff and Class

Members in the future.

       10.     Plaintiff and Class Members have a continuing interest in ensuring that their

information is and remains safe, and they are thus entitled to injunctive and other equitable relief.

                                JURISDICTION AND VENUE

        11.    Jurisdiction is proper in this Court under 28 U.S.C. §1332 (diversity

jurisdiction). Specifically, this Court has subject matter and diversity jurisdiction over this

action under 28 U.S.C. § 1332(d) because this is a class action where the amount in controversy

exceeds the sum or value of $5 million, exclusive of interest and costs, there are more than 100

members in the proposed class, and at least one class member is a citizen of a state different from

Defendant.

       12.     Supplemental jurisdiction to adjudicate issues pertaining to state law is proper in

this Court under 28 U.S.C. §1367.

       13.     Defendant is headquartered and routinely conducts business in the State where

this district is located, has sufficient minimum contacts in this State, and has intentionally

availed itself of this jurisdiction by marketing and selling products and services, and by

accepting and processing payments for those products and services within this State.

       14.     Venue is proper in this Court under 28 U.S.C. § 1391 because a substantial part

of the events that gave rise to Plaintiff’s claims occurred within this District, and Defendant

does business in this Judicial District.




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                                          THE PARTIES

      Plaintiff Brenna Olbrich

        15.      Plaintiff Brenna Olbrich is an adult individual and, at all relevant times herein, a

resident and citizen of New York, residing in 2069 Chepstow Rd., Schenectady, NY. Plaintiff is

a former employee of the Defendant and a victim of the Data Breach.


        16.      Plaintiff’s information was stored with Defendant as a result of their dealings

with Defendant.

        17.      As required in order to obtain employment from Defendant, Plaintiff provided

Defendant with highly sensitive personal, and financial information, who then possessed and

controlled it.

        18.      As a result, Plaintiff’s information was among the data accessed by an

unauthorized third-party in the Data Breach.

        19.      At all times herein relevant, Plaintiff is and was a member of the Class.

        20.      Plaintiff received a letter from Defendant, dated June 26, 2025, stating that their

PII and financial information was involved in the Data Breach (the “Notice”).

        21.      Plaintiff was unaware of the Data Breach until receiving that letter.

        22.      As a result, Plaintiff was injured in the form of lost time dealing with the

consequences of the Data Breach, which included and continues to include: time spent verifying

the legitimacy and impact of the Data Breach; time spent exploring credit monitoring and

identity theft insurance options; time spent self-monitoring their accounts with heightened

scrutiny and time spent seeking legal counsel regarding their options for remedying and/or

mitigating the effects of the Data Breach.

        23.      Plaintiff was also injured by the material risk to future harm they suffer based on


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Defendant’s breach; this risk is imminent and substantial because Plaintiff’s data has been

exposed in the breach, the data involved, including Social Security numbers, is highly sensitive

and presents a high risk of identity theft or fraud; and it is likely, given Defendant’s clientele,

that some of the Class’s information that has been exposed has already been misused.

       24.     Plaintiff suffered actual injury in the form of damages to and diminution in the

value of their PII—a condition of intangible property that they entrusted to Defendant, which

was compromised in and as a result of the Data Breach.

       25.     Plaintiff, as a result of the Data Breach, has increased anxiety for their loss of

privacy and anxiety over the impact of cybercriminals accessing, using, and selling their PII and

financial information.

       26.     Plaintiff has suffered imminent and impending injury arising from the

substantially increased risk of fraud, identity theft, and misuse resulting from their PII and

financial information, in combination with their name, being placed in the hands of unauthorized

third parties/criminals.

       27.     Plaintiff has a continuing interest in ensuring that their PII and financial

information, which, upon information and belief, remains backed up in Defendant’s possession,

is protected and safeguarded from future breaches.

       Defendant Ahold Delhaize USA Services, LLC

        28.     Defendant Ahold Delhaize USA Services, LLC is Delaware limited liability

company with its principal office located at 2110 Executive Drive Salisbury, North Carolina 28147.

                              CLASS ACTION ALLEGATIONS

       29.     Plaintiff brings this action pursuant to the provisions of Rules 23(a), (b)(2), and

(b)(3) of the Federal Rules of Civil Procedure, on behalf of themself and the following Class:


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               All individuals within the United States of America whose PII and/or
               financial information was exposed to unauthorized third-parties as a
               result of the data breach experienced by Defendant on November 6, 2024.

       30.     Excluded from the Class are the following individuals and/or entities: Defendant

and Defendant’s parents, subsidiaries, affiliates, officers and directors, and any entity in which

Defendant has a controlling interest; all individuals who make a timely election to be excluded

from this proceeding using the correct protocol for opting out; any and all federal, state or local

governments, including but not limited to its departments, agencies, divisions, bureaus, boards,

sections, groups, counsels and/or subdivisions; and all judges assigned to hear any aspect of this

litigation, as well as its immediate family members.

       31.     Plaintiff reserves the right to amend the above definitions or to propose

subclasses in subsequent pleadings and motions for class certification.

       32.     This action has been brought and may properly be maintained as a class action

under Federal Rule of Civil Procedure Rule 23 because there is a well-defined community of

interest in the litigation, and membership in the proposed classes is easily ascertainable.

       33.     Numerosity: A class action is the only available method for the fair and efficient

adjudication of this controversy, as the members of the Class are so numerous that joinder of all

members is impractical, if not impossible.

       34.     Commonality: Plaintiff and the Class Members share a community of interests

in that there are numerous common questions and issues of fact and law which predominate

over any questions and issues solely affecting individual members, including, but not

necessarily limited to:

               a.         Whether Defendant had a legal duty to Plaintiff and the Class to exercise

                          due care in collecting, storing, using, and/or safeguarding their PII and


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              financial information;

        b.    Whether Defendant knew or should have known of the susceptibility of

              its data security systems to a data breach;

        c.    Whether Defendant’s security procedures and practices to protect its

              systems were reasonable in light of the measures recommended by data

              security experts;

        d.    Whether Defendant’s failure to implement adequate data security

              measures allowed the Data Breach to occur;

        e.    Whether Defendant failed to comply with its own policies and applicable

              laws, regulations, and industry standards relating to data security;

        f.    Whether Defendant adequately, promptly, and accurately informed

              Plaintiff and Class Members that their PII and financial information had

              been compromised;

        g.    How and when Defendant actually learned of the Data Breach;

        h.    Whether Defendant’s conduct, including its failure to act, resulted in or

              was the proximate cause of the breach of its systems, resulting in the loss

              of the PII and financial information of Plaintiff and Class Members;

        i.    Whether Defendant adequately addressed and fixed the vulnerabilities

              which permitted the Data Breach to occur;

        j.    Whether Defendant engaged in unfair, unlawful, or deceptive practices by

              failing to safeguard the PII and financial information of Plaintiff and

              Class Members;

        k.    Whether Plaintiff and Class Members are entitled to actual and/or


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                         statutory damages and/or whether injunctive, corrective and/or

                         declaratory relief and/or accounting is/are appropriate as a result of

                         Defendant’s wrongful conduct; and

                 l.      Whether Plaintiff and Class Members are entitled to restitution as a result

                         of Defendant’s wrongful conduct.

        35.      Typicality: Plaintiff’s claims are typical of the claims of the Class. Plaintiff and

all members of the Class sustained damages arising out of and caused by Defendant’s common

course of conduct in violation of law, as alleged herein.

        36.      Adequacy of Representation: Plaintiff in this class action is an adequate

representative of the Class in that the Plaintiff has the same interest in the litigation of this case

as the Class Members, is committed to the vigorous prosecution of this case and has retained

competent counsel who are experienced in conducting litigation of this nature.

        37.      Plaintiff is not subject to any individual defenses unique from those conceivably

applicable to other Class Members or the class in its entirety. Plaintiff anticipates no management

difficulties in this litigation.

        38.      Superiority of Class Action: Since the damages suffered by individual Class

Members, while not inconsequential, may be relatively small, the expense and burden of

individual litigation by each member make or may make it impractical for members of the Class

to seek redress individually for the wrongful conduct alleged herein. Should separate actions be

brought or be required to be brought, by each individual member of the Class, the resulting

multiplicity of lawsuits would cause undue hardship and expense for the Court and the litigants.

        39.      The prosecution of separate actions would also create a risk of inconsistent

rulings, which might be dispositive of the interests of the Class Members who are not parties to


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the adjudications and/or may substantially impede their ability to protect their interests

adequately.

        40.     This class action is also appropriate for certification because Defendant has acted

or refused to act on grounds generally applicable to Class Members, thereby requiring the

Court’s imposition of uniform relief to ensure compatible standards of conduct toward the Class

Members and making final injunctive relief appropriate with respect to the Class in its entirety.

        41.     Defendant’s policies and practices challenged herein apply to and affect Class

Members uniformly and Plaintiff’s challenge of these policies and practices hinges on

Defendant’s conduct with respect to the Class in its entirety, not on facts or law applicable only

to Plaintiff.

        42.     Unless a Class-wide injunction is issued, Defendant may continue failing to

properly secure the PII and financial information of Class Members, and Defendant may

continue to act unlawfully as set forth in this Complaint.

        43.     Further, Defendant has acted or refused to act on grounds generally applicable

to the Class and, accordingly, final injunctive or corresponding declaratory relief with regard to

the Class Members as a whole is appropriate under Rule 23(b)(2) of the Federal Rules of Civil

Procedure.

                           COMMON FACTUAL ALLEGATIONS


Defendant’s Failed Response to the Breach

         44.    Not until after months it claims to have discovered the Data Breach did

 Defendant begin sending the Notice to persons whose PII and financial information Defendant

 confirmed was potentially compromised as a result of the Data Breach.

         45.    The Notice included, inter alia, basic details of the Data Breach, Defendant’s

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recommended next steps, and Defendant’s claims that it had learned of the Data Breach on

November 6, 2024 and completed a review thereafter.

       46.     Upon information and belief, the unauthorized third-party cybercriminals gained

access to Plaintiff’s and Class Members’ PII and financial information with the intent of

engaging in the misuse of the PII and financial information, including marketing and selling

Plaintiff’s and Class Members’ PII.

       47.     Defendant had and continues to have obligations, applicable federal and state

law as set forth herein, reasonable industry standards, common law, and its own assurances and

representations to keep Plaintiff’s and Class Members’ PII confidential and to protect such PII

from unauthorized access.

       48.     Plaintiff and Class Members were required to provide their PII and financial

information to Defendant as a result of their dealings, and in furtherance of this relationship,

Defendant created, collected, and stored Plaintiff and Class Members with the reasonable

expectation and mutual understanding that Defendant would comply with its obligations to keep

such information confidential and secure from unauthorized access.

       49.     Despite this, Plaintiff and the Class Members remain, even today, in the dark

regarding what particular data was stolen, the particular malware used, and what steps are being

taken, if any, to secure their PII and financial information going forward.

       50.     Plaintiff and Class Members are, thus, left to speculate as to where their PII

ended up, who has used it, and for what potentially nefarious purposes, and are left to further

speculate as to the full impact of the Data Breach and how exactly Defendant intends to

enhance its information security systems and monitoring capabilities to prevent further

breaches.


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       51.     Unauthorized individuals can now easily access the PII and/or financial

information of Plaintiff and Class Members.

Defendant Collected/Stored Class Members’ PII and Financial Information

       52.     Defendant acquired, collected, and stored and assured reasonable security over

Plaintiff’s and Class Members’ PII and financial information.

       53.     As a condition of its relationships with Plaintiff and Class Members, Defendant

required that Plaintiff and Class Members entrust Defendant with highly sensitive and

confidential PII and financial information.

       54.     Defendant, in turn, stored that information in the part of Defendant’s system that

was ultimately affected by the Data Breach.

       55.     By obtaining, collecting, and storing Plaintiff’s and Class Members’ PII and

financial information, Defendant assumed legal and equitable duties and knew or should have

known that they were thereafter responsible for protecting Plaintiff’s and Class Members’ PII

and financial information from unauthorized disclosure.

       56.     Plaintiff and Class Members have taken reasonable steps to maintain the

confidentiality of their PII and financial information.

       57.     Plaintiff and Class Members relied on Defendant to keep their PII and

financial information confidential and securely maintained, to use this information for business

purposes only, and to make only authorized disclosures of this information.

       58.     Defendant could have prevented the Data Breach, which began no later than

November 5, 2024, by adequately securing and encrypting and/or more securely encrypting its

servers generally, as well as Plaintiff’s and Class Members’ PII and financial information.

       59.     Defendant’s negligence in safeguarding Plaintiff’s and Class Members’ PII and


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    financial information is exacerbated by repeated warnings and alerts directed to protecting and

    securing sensitive data, as evidenced by the trending data breach attacks in recent years.

           60.     Yet, despite the prevalence of public announcements of data breach and

    data security compromises, Defendant failed to take appropriate steps to protect Plaintiff’s

    and Class Members’ PII and financial information from being compromised.

    Defendant Had an Obligation to Protect the Stolen Information

           61.     Defendant was also prohibited by the Federal Trade Commission Act (the “FTC

    Act”) (15 U.S.C. § 45) from engaging in “unfair or deceptive acts or practices in or affecting

    commerce.” 1

           62.     In addition to its obligations under federal and state laws, Defendant owed a duty

    to Plaintiff and Class Members to exercise reasonable care in obtaining, retaining, securing,

    safeguarding, deleting, and protecting the PII and financial information in Defendant’s

    possession from being compromised, lost, stolen, accessed, and misused by unauthorized

    persons.

           63.      Defendant owed a duty to Plaintiff and Class Members to provide reasonable

    security, including consistency with industry standards and requirements, and to ensure that its

    computer systems, networks, and protocols adequately protected the PII and financial

    information of Plaintiff and Class Members.

           64.     Defendant owed a duty to Plaintiff and Class Members to design, maintain, and

    test its computer systems, servers, and networks to ensure that the PII and financial information



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  The Federal Trade Commission (the “FTC”) has concluded that a company’s failure to maintain
reasonable and appropriate data security for consumers’ sensitive personal information is an
“unfair practice” in violation of the FTC Act. See, e.g., FTC v. Wyndham Worldwide Corp., 799
F.3d 236 (3d Cir. 2015).
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was adequately secured and protected.

       65.     Defendant owed a duty to Plaintiff and Class Members to create and implement

reasonable data security practices and procedures to protect the PII and financial information in

its possession, including not sharing information with other entities who maintained sub-standard

data security systems.

       66.     Defendant owed a duty to Plaintiff and Class Members to implement processes

that would immediately detect a breach in its data security systems in a timely manner.

       67.     Defendant owed a duty to Plaintiff and Class Members to act upon data security

warnings and alerts in a timely fashion.

       68.     Defendant owed a duty to Plaintiff and Class Members to disclose if its computer

systems and data security practices were inadequate to safeguard individuals’ PII and/or

financial information from theft because such an inadequacy would be a material fact in the

decision to entrust this PII and/or financial information to Defendant.

       69.     Defendant owed a duty of care to Plaintiff and Class Members because they were

foreseeable and probable victims of any inadequate data security practices.

       70.     Defendant owed a duty to Plaintiff and Class Members to encrypt and/or more

reliably encrypt Plaintiff’s and Class Members’ PII and financial information and monitor user

behavior and activity in order to identify possible threats.

Value of the Relevant Sensitive Information

       71.     PII and financial information are valuable commodities for which a “cyber black

market” exists in which criminals openly post stolen payment card numbers, Social Security

numbers, and other personal information on several underground internet websites.

       72.     Numerous sources cite dark web pricing for stolen identity credentials; for


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    example, personal information can be sold at a price ranging from $40 to $200, and bank details

    have a price range of $50 to $200 2; Experian reports that a stolen credit or debit card number

    can sell for $5 to $110 on the dark web 3; and other sources report that criminals can also

    purchase access to entire company data breaches from $999 to $4,995. 4

           73.     Identity thieves can use PII and financial information, such as that of Plaintiff

    and Class Members, which Defendant failed to keep secure, to perpetrate a variety of crimes

    that harm victims—for instance, identity thieves may commit various types of government fraud

    such as immigration fraud, obtaining a driver’s license or identification card in the victim’s

    name but with another’s picture, using the victim’s information to obtain government benefits,

    or filing a fraudulent tax return using the victim’s information to obtain a fraudulent refund.

           74.     There may be a time lag between when harm occurs versus when it is discovered,

    and also between when PII and/or financial information is stolen and when it is used:

    according to the U.S. Government Accountability Office (“GAO”), which conducted a study

    regarding data breaches:

           [L]aw enforcement officials told us that in some cases, stolen data might be held
           for up to a year or more before being used to commit identity theft. Further, once
           stolen data have been sold or posted on the Web, fraudulent use of that
           information may continue for years. As a result, studies that attempt to measure
           the harm resulting from data breaches cannot necessarily rule out all future
           harm. 5


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  Your personal data is for sale on the dark web. Here’s how much it costs, Digital Trends, Oct.
16, 2019, available at: https://www.digitaltrends.com/computing/personal-data-sold-on-the-dark-
web-how-much-it-costs/ (last accessed July 2, 2025).
3
  Here’s How Much Your Personal Information Is Selling for on the Dark Web, Experian, Dec. 6,
2017, available at: https://www.experian.com/blogs/ask-experian/heres-how-much-your-
personal-information-is-selling-for-on-the-dark-web/ (last accessed July 2, 2025).
4
  In the Dark, VPNOverview, 2019, available at: https://vpnoverview.com/privacy/anonymous-
browsing/in-the-dark/ (last accessed July 2, 2025).
5
  Report to Congressional Requesters, GAO, at 29 (June 2007), available at:
http://www.gao.gov/new.items/d07737.pdf (last accessed July 2, 2025).
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       75.     Here, Defendant knew of the importance of safeguarding PII and financial

information and of the foreseeable consequences that would occur if Plaintiff’s and Class

Members’ PII and financial information were stolen, including the significant costs that would

be placed on Plaintiff and Class Members as a result of a breach of this magnitude.

       76.     As detailed above, Defendant is a sophisticated organization with the resources

to deploy robust cybersecurity protocols. It knew, or should have known, that the development

and use of such protocols were necessary to fulfill its statutory and common law duties to

Plaintiff and Class Members. Therefore, its failure to do so is intentional, willful, reckless and/or

grossly negligent.

       77.     Defendant disregarded the rights of Plaintiff and Class Members by, inter alia, (i)

intentionally, willfully, recklessly, or negligently failing to take adequate and reasonable

measures to ensure that its network servers were protected against unauthorized intrusions; (ii)

failing to disclose that they did not have adequately robust security protocols and training

practices in place to adequately safeguard Plaintiff’s and Class Members’ PII and financial

information; (iii) failing to take standard and reasonably available steps to prevent the Data

Breach; (iv) concealing the existence and extent of the Data Breach for an unreasonable duration

of time; and (v) failing to provide Plaintiff and Class Members prompt and accurate notice of

the Data Breach.

                                    CLAIMS FOR RELIEF

                                         COUNT ONE
                                           Negligence
                                     (On behalf of the Class)

       78.     Plaintiff realleges and reincorporates every allegation set forth in the preceding

paragraphs as though fully set forth herein.


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       79.     At all times herein relevant, Defendant owed Plaintiff and Class Members a duty

of care, inter alia, to act with reasonable care to secure and safeguard their PII and financial

information and to use commercially reasonable methods to do so. Defendant took on this

obligation upon accepting and storing the PII and financial information of Plaintiff and Class

Members in its computer systems and on its networks.

       80.     Among these duties, Defendant was expected:

               a.     to exercise reasonable care in obtaining, retaining, securing,

                      safeguarding, deleting, and protecting the PII and financial information

                      in its possession;

               b.     to protect Plaintiff’s and Class Members’ PII and financial information

                      using reasonable and adequate security procedures and systems that

                      were/are compliant with industry-standard practices;

               c.     to implement processes to detect the Data Breach quickly and to timely

                      act on warnings about data breaches; and

               d.     to promptly notify Plaintiff and Class Members of any data breach,

                      security incident, or intrusion that affected or may have affected their PII

                      and financial information.

       81.     Defendant knew that the PII and financial information was private and

confidential and should be protected as private and confidential and, thus, Defendant owed a

duty of care not to subject Plaintiff and Class Members to an unreasonable risk of harm because

they were foreseeable and probable victims of any inadequate security practices.

       82.     Defendant knew, or should have known, of the risks inherent in collecting and

storing PII and financial information, the vulnerabilities of its data security systems, and the


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importance of adequate security.

        83.        Defendant knew about numerous, well-publicized data breaches.

        84.        Defendant knew, or should have known, that its data systems and networks did

not adequately safeguard Plaintiff’s and Class Members’ PII and financial information.

        85.        Only Defendant was in the position to ensure that its systems and protocols were

sufficient to protect the PII and financial information that Plaintiff and Class Members had

entrusted to it.

        86.        Defendant breached its duties to Plaintiff and Class Members by failing to

provide fair, reasonable, or adequate computer systems and data security practices to safeguard

their PII and financial information.

        87.        Because Defendant knew that a breach of its systems could damage thousands

of individuals, including Plaintiff and Class Members, Defendant had a duty to adequately

protect its data systems and the PII and financial information contained therein.

        88.        Plaintiff’s and Class Members’ willingness to entrust Defendant with their PII

and financial information was predicated on the understanding that Defendant would take

adequate security precautions.

        89.        Moreover, only Defendant had the ability to protect its systems and the PII and

financial information is stored on them from attack. Thus, Defendant had a special relationship

with Plaintiff and Class Members.

        90.        Defendant also had independent duties under state and federal laws that required

Defendant to reasonably safeguard Plaintiff’s and Class Members’ PII and financial information

and promptly notify them about the Data Breach. These “independent duties” are untethered to

any contract between Defendant, Plaintiff, and/or the remaining Class Members.


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       91.     Defendant breached its general duty of care to Plaintiff and Class Members in,

but not necessarily limited to, the following ways:

               a.     by failing to provide fair, reasonable, or adequate computer systems and

                      data security practices to safeguard the PII and financial information of

                      Plaintiff and Class Members;

               b.     by failing to timely and accurately disclose that Plaintiff’s and Class

                      Members’ PII and financial information had been improperly acquired or

                      accessed;

               c.     by failing to adequately protect and safeguard the PII and financial

                      information by knowingly disregarding standard information security

                      principles, despite obvious risks, and by allowing unmonitored and

                      unrestricted access to unsecured PII and financial information;

               d.     by failing to provide adequate supervision and oversight of the PII and

                      financial information with which it was and is entrusted, in spite of the

                      known risk and foreseeable likelihood of breach and misuse, which

                      permitted an unknown third party to gather PII and financial information

                      of Plaintiff and Class Members, misuse the PII and intentionally disclose

                      it to others without consent.

               e.     by failing to adequately train its employees not to store PII and financial

                      information longer than absolutely necessary;

               f.     by failing to consistently enforce security policies aimed at protecting

                      Plaintiff’s and the Class Members’ PII and financial information;

               g.     by failing to implement processes to detect data breaches, security


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                       incidents, or intrusions quickly; and

               h.      by failing to encrypt Plaintiff’s and Class Members’ PII and financial

                       information and monitor user behavior and activity in order to identify

                       possible threats.

       92.     Defendant’s willful failure to abide by these duties was wrongful, reckless, and

grossly negligent in light of the foreseeable risks and known threats.

       93.     As a proximate and foreseeable result of Defendant’s grossly negligent conduct,

Plaintiff and Class Members have suffered damages and are at imminent risk of additional

harms and damages.

       94.     The law further imposes an affirmative duty on Defendant to timely disclose the

unauthorized access and theft of the PII and financial information to Plaintiff and Class

Members so that they could and/or still can take appropriate measures to mitigate damages,

protect against adverse consequences and thwart future misuse of their PII and financial

information.

       95.     Defendant breached its duty to notify Plaintiff and Class Members of the

unauthorized access by waiting months after learning of the Data Breach to notify Plaintiff and

Class Members and then by failing and continuing to fail to provide Plaintiff and Class Members

sufficient information regarding the breach.

       96.     To date, Defendant has not provided sufficient information to Plaintiff and Class

Members regarding the extent of the unauthorized access and continues to breach its disclosure

obligations to Plaintiff and Class Members.

       97.     Further, through its failure to provide timely and clear notification of the Data

Breach to Plaintiff and Class Members, Defendant prevented Plaintiff and Class Members from


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taking meaningful, proactive steps to secure their PII and financial information.

        98.     There is a close causal connection between Defendant’s failure to implement

security measures to protect the PII and financial information of Plaintiff and Class Members

and the harm suffered, or risk of imminent harm suffered by Plaintiff and Class Members.

        99.     Plaintiff’s and Class Members’ PII and financial information was accessed as the

proximate result of Defendant’s failure to exercise reasonable care in safeguarding such PII and

financial information by adopting, implementing, and maintaining appropriate security

measures.

        100.    Defendant’s wrongful actions, inactions, and omissions constituted (and

continue to constitute) common law negligence.

        101.    The damages Plaintiff and Class Members have suffered (as alleged above) and

will suffer were and are the direct and proximate result of Defendant’s grossly negligent

conduct.

        102.    As a direct and proximate result of Defendant’s negligence and negligence per

se, Plaintiff and Class Members have suffered and will suffer injury, including but not limited to:

(i) actual identity theft; (ii) the loss of the opportunity of how their PII and financial information

is used; (iii) the compromise, publication, and/or theft of their PII and financial information;

(iv) out-of-pocket expenses associated with the prevention, detection, and recovery from

identity theft, tax fraud, and/or unauthorized use of their PII and financial information; (v) lost

opportunity costs associated with effort expended and the loss of productivity addressing and

attempting to mitigate the actual and future consequences of the Data Breach, including but not

limited to, efforts spent researching how to prevent, detect, contest, and recover from

embarrassment and identity theft; (vi) the continued risk to their PII and financial information,

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which may remain in Defendant’s possession and is subject to further unauthorized disclosures

so long as Defendant fails to undertake appropriate and adequate measures to protect Plaintiff’s

and Class Members’ PII and financial information in its continued possession; and (vii) future

costs in terms of time, effort, and money that will be expended to prevent, detect, contest, and

repair the impact of the PII and financial information compromised as a result of the Data Breach

for the remainder of the lives of Plaintiff and Class Members.

       103.    As a direct and proximate result of Defendant’s negligence and negligence per

se, Plaintiff and Class Members have suffered and will continue to suffer other forms of injury

and/or harm, including, but not limited to, anxiety, emotional distress, loss of privacy, and other

economic and non-economic losses.

       104.    Additionally, as a direct and proximate result of Defendant’s negligence,

Plaintiff and Class Members have suffered and will suffer the continued risks of exposure of

their PII and financial information, which remain in Defendant’s possession and are subject to

further unauthorized disclosures so long as Defendant fails to undertake appropriate and

adequate measures to protect the PII and financial information in its continued possession.

                                       COUNT TWO
                                  Breach of Implied Contract
                                   (On behalf of the Class)

        105.    Plaintiff realleges and reincorporates every allegation set forth in the preceding

paragraphs as though fully set forth herein.

       106.    Through its course of conduct, Defendant, Plaintiff and Class Members entered

into implied contracts for Defendant to implement data security adequate to safeguard and

protect the privacy of Plaintiff’s and Class Members’ PII and financial information.

       107.    Defendant required Plaintiff and Class Members to provide and entrust their PII


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and financial information as a condition of obtaining Defendant’s services.

       108.    Defendant solicited and invited Plaintiff and Class Members to provide their PII

and financial information as part of Defendant’s regular business practices.

       109.    Plaintiff and Class Members accepted Defendant’s offers and provided their PII

and financial information to Defendant.

       110.    As a condition of their relationship with Defendant, Plaintiff and Class Members

provided and entrusted their PII and financial information to Defendant.

       111.    In so doing, Plaintiff and Class Members entered into implied contracts with

Defendant by which Defendant agreed to safeguard and protect such non-public information, to

keep such information secure and confidential, and to timely and accurately notify Plaintiff and

Class Members if their data had been breached and compromised or stolen.

       112.    A meeting of the minds occurred when Plaintiff and Class Members agreed to,

and did, provide their PII and financial information to Defendant, in exchange for, amongst other

things, the protection of their PII and financial information.

       113.    Plaintiff and Class Members fully performed their obligations under the implied

contracts with Defendant.

       114.    Defendant breached its implied contracts with Plaintiff and Class Members by

failing to safeguard and protect their PII and financial information and by failing to provide

timely and accurate notice to them that their PII and financial information was compromised as

a result of the Data Breach.

       115.    As a direct and proximate result of Defendant’s above-described breach of

implied contract, Plaintiff and Class Members have suffered (and will continue to suffer) (a)

ongoing, imminent, and impending threat of identity theft crimes, fraud, and abuse, resulting in


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monetary loss and economic harm; (b) actual identity theft crimes, fraud, and abuse, resulting

in monetary loss and economic harm; (c) loss of the confidentiality of the stolen confidential

data; (d) the illegal sale of the compromised data on the dark web; (e) lost work time; and (f)

other economic and non-economic harm.

                                      COUNT THREE
               Breach of the Implied Covenant of Good Faith and Fair Dealing
                                   (On behalf of the Class)

       116.     Plaintiff realleges and reincorporates every allegation set forth in the preceding

paragraphs as though fully set forth herein.

       117.     Every contract in this State has an implied covenant of good faith and fair

dealing, which is an independent duty and may be breached even when there is no breach of

a contract’s actual and/or express terms.

       118.     Plaintiff and Class Members have complied with and performed all conditions of

their contracts with Defendant.

       119.     Defendant breached the implied covenant of good faith and fair dealing by failing

to maintain adequate computer systems and data security practices to safeguard PII and financial

information, failing to timely and accurately disclose the Data Breach to Plaintiff and Class

Members and continued acceptance of PII and financial information and storage of other

personal information after Defendant knew, or should have known, of the security vulnerabilities

of the systems that were exploited in the Data Breach.

        120.     Defendant acted in bad faith and/or with malicious motive in denying Plaintiff

and Class Members the full benefit of their bargains as originally intended by the parties,

thereby causing them injury in an amount to be determined at trial.




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                                      COUNT FOUR
                                     Unjust Enrichment
                                   (On behalf of the Class)

       121.    Plaintiff realleges and reincorporates every allegation set forth in the preceding

paragraphs as though fully set forth herein.

       122.    By its wrongful acts and omissions described herein, Defendant has obtained a

benefit by unduly taking advantage of Plaintiff and Class Members.

       123.    Defendant, prior to and at the time Plaintiff and Class Members entrusted their

PII and financial information to Defendant, caused Plaintiff and Class Members to reasonably

believe that Defendant would keep such PII and financial information secure.

       124.    Defendant was aware, or should have been aware, that reasonable patients and

consumers would have wanted their PII and financial information kept secure and would not

have contracted with Defendant, directly or indirectly, had they known that Defendant’s

information systems were sub-standard for that purpose.

       125.    Defendant was also aware that, if the substandard condition of and vulnerabilities

in its information systems were disclosed, it would negatively affect Plaintiff’s and Class

Members’ decisions to seek services therefrom.

       126.    Defendant failed to disclose facts pertaining to its substandard information

systems, defects, and vulnerabilities therein before Plaintiff and Class Members made their

decisions to make purchases, engage in commerce therewith, and seek services or information.

       127.    Instead, Defendant suppressed and concealed such information. By concealing

and suppressing that information, Defendant denied Plaintiff and Class Members the ability to

make a rational and informed purchasing and servicing decision and took undue advantage of

Plaintiff and Class Members.

       128.    Defendant was unjustly enriched at the expense of Plaintiff and Class Members,
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as Defendant received profits, benefits, and compensation, in part, at the expense of Plaintiff and

Class Members; however, Plaintiff and Class Members did not receive the benefit of their

bargain because they paid for services (or provided those services) that did not satisfy the

purposes for which they bought/sought them.

        129.   Since Defendant’s profits, benefits, and other compensation were obtained

improperly, Defendant is not legally or equitably entitled to retain any of the benefits,

compensation or profits it realized from these transactions.

        130.   Plaintiff and Class Members seek an Order of this Court requiring Defendant to

refund, disgorge, and pay as restitution any profits, benefits and other compensation obtained

by Defendant from its wrongful conduct and/or the establishment of a constructive trust from

which Plaintiff and Class Members may seek restitution.

                                   PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, on behalf of themself and each member of the proposed

Class, respectfully request that the Court enter judgment in their favor and for the following

specific relief against Defendant as follows:

        1.     That the Court declare, adjudge, and decree that this action is a proper class

action and certify the proposed class under F.R.C.P. Rule 23 (b)(1), (b)(2), and/or (b)(3),

including the appointment of Plaintiff’s counsel as Class Counsel;

        2.     For an award of damages, including actual, nominal, and consequential damages,

as allowed by law in an amount to be determined;

        3.     That the Court enjoin Defendant, ordering them to cease from unlawful

activities;

        4.     For equitable relief enjoining Defendant from engaging in the wrongful conduct


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complained of herein pertaining to the misuse and/or disclosure of Plaintiff’s and Class

Members’ PII, and from refusing to issue prompt, complete, and accurate disclosures to Plaintiff

and Class Members;

       5.      For injunctive relief requested by Plaintiff, including but not limited to, injunctive

and other equitable relief as is necessary to protect the interests of Plaintiff and Class Members,

including but not limited to an Order:

               a.      prohibiting Defendant from engaging in the wrongful and unlawful acts

                       described herein;

               b.      requiring Defendant to protect, including through encryption, all data

                       collected through the course of business in accordance with all applicable

                       regulations, industry standards, and federal, state, or local laws;

               c.      requiring Defendant to delete and purge the PII of Plaintiff and Class

                       Members unless Defendant can provide to the Court reasonable

                       justification for the retention and use of such information when weighed

                       against the privacy interests of Plaintiff and Class Members;

               d.      requiring Defendant to implement and maintain a comprehensive

                       Information Security Program designed to protect the confidentiality and

                       integrity of Plaintiff’s and Class Members’ PII;

               e.      requiring Defendant to engage independent third-party security auditors

                       and internal personnel to run automated security monitoring, simulated

                       attacks, penetration tests, and audits on Defendant’s systems

                       periodically;

               f.      prohibiting Defendant from maintaining Plaintiff’s and Class Members’


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               PII on a cloud-based database;

         g.    requiring Defendant to segment data by creating firewalls and access

               controls so that, if one area of Defendant’s network is compromised,

               hackers cannot gain access to other portions of Defendant’s systems;

         h.    requiring Defendant to conduct regular database scanning and securing

               checks;

         i.    requiring Defendant to establish an information security training program

               that includes at least annual information security training for all

               employees, with additional training to be provided as appropriate based

               upon the employees’ respective responsibilities with handling PII, as well

               as protecting the PII of Plaintiff and Class Members;

         j.    requiring Defendant to implement a system of tests to assess its

               respective employees’ knowledge of the education programs discussed

               in the preceding subparagraphs, as well as randomly and periodically

               testing employees’ compliance with Defendant’s policies, programs, and

               systems for protecting personal identifying information;

         k.    requiring Defendant to implement, maintain, review, and revise as

               necessary a threat management program to monitor Defendant’s

               networks for internal and external threats appropriately, and assess

               whether monitoring tools are properly configured, tested, and updated;

               and

         l.    requiring Defendant to meaningfully educate all Class Members about

               the threats they face due to the loss of their confidential personal


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                        identifying information to third parties, as well as the steps affected

                        individuals must take to protect themselves.

        6.      For prejudgment interest on all amounts awarded, at the prevailing legal rate;

        7.      For an award of attorney’s fees, costs, and litigation expenses, as allowed by law;

and

        8.      For all other Orders, findings, and determinations identified and sought in

this Complaint.

                                       JURY DEMAND
        Plaintiff, individually and on behalf of the Class, hereby demands a trial by jury for

all issues triable by jury.

Dated: July 3, 2025                           Respectfully submitted,

                                        By:    /s/David M. Wilkerson
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